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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


                                        KEY WEST DIVISION

                                    CASE NO. 4:19-cv-10190-JLK

 STEPHEN BUZZELL, JR.
 on behalf of himself and others similarly
 situated under 29 U.S.C. 216(b),

         Plaintiff,

 v.

 FLORIDA KEYS AMBULANCE SERVICE, INC.
 and EDWARD BONILLA,

       Defendants.
 ________________________________/

            ORDER GRANTING IN PART DEFENDANTS’ MOTION TO DISMISS

         THIS CAUSE comes before the Court on Defendants’ Motion to Dismiss (the “Motion”) (DE

 13), filed on February 13, 2020. The Court has considered the Motion, Plaintiff’s Response (DE 16),

 Defendants’ Reply (DE 17), and is otherwise fully advised.

                                               I.BACKGROUND

         On November 1, 2019, Plaintiff Stephen Buzzell filed the above-styled action against Florida

 Keys Ambulance Service (“FKAS”) and Edward Bonilla (his former employer) (collectively

 “Defendants”), alleging unpaid overtime wage violations (Count I) under the Fair Labor Standards Act

 (“FLSA”), 29 U.S.C. § 207(a)(1). See Compl., DE 1. According to the Complaint, Plaintiff worked for

 Defendants as an On-Call Critical Care Licensed Paramedic from about June 2014 until July 6, 2017. Id.

 ¶ 1. Plaintiff alleges that he and “other similarly situated non-exempt employees regularly worked

 overtime hours. Defendants, however, failed to compensate Plaintiff and other similarly situated

 employees at time and one-half their regular rates of pay for the overtime hours they worked.” Id. ¶ 11.

 “Instead,” according to Plaintiff, “Defendants seemed to pay Plaintiff other similarly situated employees

 based upon the premise that the hours on-call time beyond forty (40) per work-week were not
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 compensable overtime. However, this on-call time was, in fact, subject to overtime based on the fact that

  Plaintiff and other similarly situated employees were required to remain in close proximity to FKAS in

  order to respond to calls within [sic] thirty (30) minutes, and the calls to which Plaintiff and others

  similarly situated responded during each on-call shift were of sufficient frequency, usually one to five

  calls per 24-hour shift, that there was no meaningful opportunity for the employees to engage in

  meaningful personal pursuits.” Id. ¶ 12. Plaintiff alleges that he, and other similarly situated employees,

  were “on-call for four (4) 24-hour shifts each work week. As such, they worked 96 hours per week, but

  were not paid overtime for the fifty-six (56) hours of on-call time beyond forty (40) hours.” Id. ¶ 13.

          Count I (seeking unpaid overtime wages) is brought against both Defendants. See Compl., ¶ 23.

  Plaintiff also brings a claim for breach of contract (Count II) against FKAS only, alleging that “FKAS

  agreed to pay Plaintiff for each call handled by the Plaintiff.” Id. ¶ 26. However, according to Plaintiff,

  “[a]t various times throughout Plaintiff’s employment, FKAS failed or refused to pay Plaintiff for certain

  calls, or would not pay Plaintiff the correct agreed-upon amount.” Id. ¶ 27. Defendants now move to

  dismiss the Complaint in its entirety. See Mot. Dismiss, DE 13.

                                               II.LEGAL STANDARD

          “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as

  true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

  (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To meet this standard, a plaintiff must

  plead “factual content that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Iqbal, 556 U.S. at 678. A complaint must contain “more than labels and

  conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Twombly, 550

  U.S. at 555.

                                                   III.DISCUSSION

          Defendants argue that (1) the Complaint is devoid of sufficient facts to state a claim for overtime

  wage violations under the FLSA, (2) the claim for overtime is barred by the statute of limitations because




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 it does not sufficiently allege that Defendants “willfully” violated the FLSA, and (3) the Complaint fails

 to allege sufficient facts to state a claim for breach of contract. See generally Mot. Dismiss.

          After careful consideration, the Court finds that the FLSA overtime claim (Count I) contains

 sufficient factual allegations, accepted as true, to state a claim to relief. See Sec’y of Labor v. Labbe, 319

 F. App’x 761, 763–64 (11th Cir. 2008). Among other things, the Complaint alleges that Plaintiff worked

 about ninety-six (96) hours per week as an “on-call” paramedic with FKAS but was not compensated at

 a higher rate for such overtime work.1 Compl. ¶¶ 11–14. These allegations are sufficient to state a claim

 for overtime wage violations under the FLSA. See, e.g., Anish v. Nat’l Secs. Corp., Case No. 10-80330-

 CIV-MARRA, 2010 WL 4065433, at *2 (S.D. Fla. Oct. 15, 2010) (“[T]he Court rejects Defendant's

 argument that Plaintiff must plead the precise number of hours worked and applicable pay rates to state

 an FLSA claim. The Complaint alleges that Plaintiff worked more than forty hours per week and was not

 compensated overtime pay or minimum wages. A ‘claim for relief for failure to pay minimum wages [or]

 to provide overtime compensation . . . under FLSA does not require more.’”) (quoting Labbe, 319 F.

 App’x at 764) (internal citations omitted). Additionally, Defendant’s argument regarding the three-year

 statute of limitations is premature since it is an affirmative defense not “apparent from the face of the

 complaint.” Labbe, 319 F. App’x at 764. Count I should therefore survive dismissal.

          However, the Court finds that the claim for breach of contract (Count II) lacks sufficient factual

 support to survive a motion to dismiss. In Florida, to state a claim for breach of contract, a plaintiff must

 allege (1) the existence of a valid contract, (2) a breach of the contract, and (3) damages resulting from

 that breach. Knowles v. C.I.T. Corp., 346 So. 2d 1042, 1043 (Fla. Dist. Ct. App. 1977). To establish the

 existence of a valid contract, a plaintiff must allege (1) an offer, (2) acceptance, (3) consideration, and (4)

 sufficient specification of the terms of the agreement. St. Joe Corp. v. McIver, 875 So. 2d 375, 381 (Fla.

 2004).


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  The FLSA requires employers to provide overtime compensation at the rate of “time and a half”
 to employees for all hours worked beyond forty hours in a given week. 29 U.S.C. § 207(a)(1).

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           Here, the Complaint fails to adequately allege the existence of a valid contract. Indeed, Count II

 alleges that “FKAS agreed to pay Plaintiff for each call handled by the Plaintiff . . . [but] FKAS failed

 or refused to pay Plaintiff for certain calls, or would not pay Plaintiff the correct agreed-upon amount.”

 Compl. ¶¶ 26–27. Among other things, Count II does not allege an offer between the parties, an

 acceptance of this offer, or the essential terms of this (purported) agreement. Nor does it allege the

 existence of a writing embodying this agreement. As a result, these allegations are inadequate to state a

 claim for breach of contract since “conclusory allegations, unwarranted deductions of facts or legal

 conclusions masquerading as facts will not prevent dismissal.” Oxford Asset Mgmt., Ltd. v. Jaharis, 297

 F.3d 1182, 1188 (11th Cir. 2002).

           Accordingly, it is ORDERED, ADJUDGED, AND DECREED that:

           1. Defendants’ Motion to Dismiss (DE 13) be, and the same hereby is, GRANTED IN PART;

           2. The claim for breach of contract (Count II) is hereby DISMISSED; and

           3. Defendant(s) shall file their Answer(s) to the FLSA overtime claim (Count I) within twenty

 (20) days of the date of this Order.

 .         DONE AND ORDERED in chambers at the James Lawrence King Federal

 Justice Building and United State Courthouse, Miami, Florida, this 17th day of July, 2020.


                                                            JAMES LAWRENCE KING
                                                            UNITED STATES DISTRICT JUDGE


     cc:

     All Counsel of Record




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